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 4
     Attorney for Defendant, FERNANDO GALVAN-DURAN
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 7
                                  UNITED STATES DISTRICT COURT
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 9                               EASTERN DISTRICT OF CALIFORNIA

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11                                        )
     UNITED STATES OF AMERICA,
                                          ) CASE NO. CR-F- 08-0264 LJO
12                                        )
            Plaintiff,
                                          ) STIPULATION TO ADVANCE SENTENCING
13   vs.                                  )
                                          ) HEARING; ORDER
14   FERNANDO GALVAN-DURAN, et al.,       )
                                          ) Date: June 5, 2009
15          Defendant.                    ) Time: 9:00 A.M.
     ____________________________________
16                                          Judge: Hon. Lawrence J. O’Neill

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            IT IS HEREBY STIPULATED, by and between the parties hereto, and through their
18
     respective attorneys of record herein, that the sentencing hearing in the above-captioned matter
19

20   now scheduled for June 26, 2009, be advanced to June 5, 2009 at 9:00 a.m.

21          This advancement is requested by counsel for the defendant on the following grounds: 1)
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     Defendant has no objection to PSR; 2) The parties have agreed on the recommended sentence; and
23
     3) Government has no objection to this request.
24
            Respectfully submitted,
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26          DATED:         June 1, 2009          /s/ Laurel Montoya
                                                 LAUREL MONTOYA
27                                               Assistant United States Attorney
                                                 Attorney for Plaintiff
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            DATED:         June 1, 2009           /S/ Joan Jacobs Levie
 1
                                                  JOAN JACOBS LEVIE
 2                                                Attorney for Defendant,
                                                  FERNANDO GALVAN-DURAN
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 4

 5                                                ORDER

 6   The request is both reasonable and is granted.
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     IT IS SO ORDERED.
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 9   Dated:_June 1, 2009______                              /s/ Lawrence J. O’Neill__________________
                                                            UNITED STATES DISTRICT JUDGE
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